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P|aintiff

\/S.
CR. NO. O4-20041~D

|VllCHAEL SANDERS

Defendant.

 

ORDER ON CONTlNUANCE AND SPECIFYING PERiOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause was set for a report date on i\/iay 19, 2005. Counse| for the defendant
filed a motion for continuance ofthe report date in order to allow for additional preparation
in the case.

The Court granted the motion and reset the trial date to Juiy 5, 2005 with a m
date of Thursdav. June 30. 2005, at 9:00 a.m., in Courtroom 3, 9th F|oorofthe Federa|
Bui|ding, |V|emphis, TN.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

ir is so oRoERED this 55 day of May, 2005.

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NicE B. ooNALD
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Notice of Distribution

This notice confirms a copy of the document docketed as number 63 in
case 2:04-CR-20041 Was distributed by faX, mail, or direct printing on
June 6, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

